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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    LINDSEY MACK,                                        Case No.: 3:23-cv-01842-RBM-MSB
12
                                          Plaintiff,       ORDER DISMISSING CASE WITH
13                                                         PREJUDICE
      v.
14
      WESTERN GOVERNORS’                                   [Doc. 17]
15    UNIVERSITY, et al.,
16
                                        Defendants.
17
18         On June 4, 2023, Plaintiff Lindsey Mack (“Plaintiff”) and Defendant Western
19   Governors’ University (“Defendant”) (collectively, the “Parties”) filed a Joint Stipulation
20   Requesting Voluntary Dismissal with Prejudice Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)
21   (“Joint Stipulation”). (Doc. 17.) In their Joint Stipulation, the Parties stipulated and agreed
22   that “this action shall be dismissed in its entirety with prejudice as to Plaintiff’s claims
23   against Defendants.” (Id. at 2.)
24         “Rule 41(a)(1) allows a plaintiff to ‘dismiss an action without a court order by filing:
25   (i) a notice of dismissal before the opposing party serves either an answer or a motion for
26   summary judgment; or (ii) a stipulation of dismissal signed by all parties who have
27   appeared.’” Dougan v. Centerplate, Inc., Case No.: 22-CV-1496 JLS (SBC), 2023 WL
28   8604152, at *2 (S.D. Cal. Dec. 12, 2023) (citing Fed. R. Civ. P. 41(a)(1)(A)).

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 1         Based on the foregoing, the Court GRANTS the parties’ Joint Stipulation and
 2   DISMISSES this entire action WITH PREJUDICE.
 3         IT IS SO ORDERED.
 4   DATE: June 5, 2024
 5                                          _____________________________________
                                            HON. RUTH BERMUDEZ MONTENEGRO
 6
                                            UNITED STATES DISTRICT JUDGE
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